      23-11007-cgb Doc#67 Filed 07/27/24 Entered 07/27/24 23:23:53 Imaged Certificate of
                                      Notice Pg 1 of 3
Information to identify the case:
Debtor
                ArtiusID, Inc.                                                                  EIN:   00−0000000
                Name

United States Bankruptcy Court       Western District of Texas                                  Date case filed for chapter:         7     11/30/23

Case number:        23−11007−cgb


Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             10/20
For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        ArtiusID, Inc.

2. All other names used in the fka Q5ID, Inc.
   last 8 years
3. Address                                   801 Barton Springs
                                             Austin, TX 78704

4. Debtor's attorney                         Eric A Liepins                                                       Contact phone 214−243−2231
                                             Legal Aid of Northwest Texas
    Name and address                         1515 Main Street                                                     Email: liepinse@lanwt.org
                                             Dallas, TX 75201

5. Bankruptcy trustee                        Ron Satija                                                           Contact phone 512−733−1311
                                             P.O. Box 660208
    Name and address                         Austin, TX 78766                                                     Email: rsatija@haywardfirm.com

6. Bankruptcy clerk's office                 903 SAN JACINTO, SUITE 322                                           Hours open Monday − Friday 8:00 AM −
                                             AUSTIN, TX 78701                                                     4:00 PM
    Documents in this case may be
    filed at this address. You may
    inspect all records filed in this case                                                                        Contact phone (512) 916−5237
    at this office or online at
    https://pacer.uscourts.gov. See                                                                               Date: 7/25/24
    Court website for electronic filing
    information:
    www.txwb.uscourts.gov.

7. Meeting of creditors                      August 29, 2024 at 11:00 AM                                          Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a later date. If        Zoom video meeting: Go to
    questioned under oath. Creditors         so, the date will be on the court docket.                            Zoom.us/join, Enter Meeting ID 357 925
    may attend, but are not required to                                                                           8317, Passcode, 9045283217 or call
    do so.                                                                                                        (737) 279−4747

                                                                                                                  For additional meeting information go to
                                                                                                                  www.justice.gov/ust/moc

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                      page 1
           23-11007-cgb Doc#67 Filed 07/27/24 Entered 07/27/24 23:23:53 Imaged Certificate of
                                           Notice Pg 2 of 3
                                                              United States Bankruptcy Court
                                                                Western District of Texas
In re:                                                                                                                 Case No. 23-11007-cgb
ArtiusID, Inc.                                                                                                         Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0542-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jul 25, 2024                                               Form ID: 309C                                                             Total Noticed: 17
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 27, 2024:
Recip ID                 Recipient Name and Address
db                     + ArtiusID, Inc., 801 Barton Springs, Austin, TX 78704-1146
aty                    + Ana Pia D. Felix, Lazare Potter Giacovas Moyle LLP, 747 Third Avenue, 16th Floor, New York, NY 10017-2856
aty                    + Jason Bradley Binford, Ross, Smith & Binford, PC, 2901 Via Fortuna, Ste Bldg. 6, Suite 450, Austin, TX 78746-0007
aty                    + Kell C. Mercer, Kell C. Mercer, P.C., 901 S MoPac Expy, Bldg 1, Suite 300, Austin, TX 78746-5883
aty                    + Michael Conway, Lazare Potter Giacovas & Moyle LLP, 747 Third Ave., 16th Floor, New York, NY 10017-2856
aty                    + Robert T DeMarco, III, Robert Demarco, 12770 Coit Road, Suite 850, Dallas, TX 75251-1364
ptcrd                  + Goldstein Consulting Services, LLC, 4445 Post Road, Apt. 5D, New York, NY 10471-3423
ptcrd                  + Rearc LLC, 1216 Broadway, Suite 218, New York, NY 10001-4483
ptcrd                  + Xmogrify, LLC, 23 Arden Drive, Hartsdale, NY 10530-2901
18647414               + ArtiusID, Inc., c/o Robert T. DeMarco, DeMarcoMitchell, PLLC, 12770 Coit Road, Suite 850, Dallas, TX 75251-1364
18588009               + Collaborative Vision, LLC, c/o Kell C. Mercer, PC, 901 S Mopac Expy Bldg 1 Ste 300, Austin, TX 78746-5883
18594640               + Goldstein Consulting Services, LLC, c/o Michael T. Conway, Esq., Lazare Potter Giacovas & Moyle LLP, 747 Third Avenue, 16th Floor,
                         New York, NY 10017-2856
18594641               + Rearc LLC, c/o Michael T. Conway, Esq., Lazare Potter Giacovas & Moyle LLP, 747 Third Avenue, 16th Floor, New York, NY
                         10017-2856
18594639               + Xmogrify, c/o Michael T. Conway, Esq., Lazare Potter Giacovas & Moyle LLP, 747 Third Avenue, 16th Floor, New York, NY
                         10017-2856

TOTAL: 14

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: liepinse@lanwt.org
                                                                                        Jul 25 2024 22:09:22      Eric A Liepins, Legal Aid of Northwest Texas,
                                                                                                                  1515 Main Street, Dallas, TX 75201
tr                     + EDI: FRSATIJA.COM
                                                                                        Jul 26 2024 02:17:00      Ron Satija, P.O. Box 660208, Austin, TX
                                                                                                                  78766-7208
ust                    + Email/Text: ustpregion07.au.ecf@usdoj.gov
                                                                                        Jul 25 2024 22:09:00      United States Trustee - AU12, United States
                                                                                                                  Trustee, 903 San Jacinto Blvd, Suite 230, Austin,
                                                                                                                  TX 78701-2450

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr               *+            Collaborative Vision, LLC, c/o Kell C. Mercer, PC, 901 S Mopac Expy Bldg 1 Ste 300, Austin, TX 78746-5883

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
          23-11007-cgb Doc#67 Filed 07/27/24 Entered 07/27/24 23:23:53 Imaged Certificate of
                                          Notice Pg 3 of 3
District/off: 0542-1                                              User: admin                                                            Page 2 of 2
Date Rcvd: Jul 25, 2024                                           Form ID: 309C                                                        Total Noticed: 17

belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 27, 2024                                        Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 25, 2024 at the address(es) listed below:
Name                             Email Address
Eric A Liepins
                                 on behalf of Debtor ArtiusID Inc. liepinse@lanwt.org,
                                 martha@ealpc.com;r56883@notify.bestcase.com;eric_154@ecf.courtdrive.com

Jason Bradley Binford
                                 on behalf of Petitioning Creditor Rearc LLC jason.binford@rsbfirm.com

Jason Bradley Binford
                                 on behalf of Petitioning Creditor Goldstein Consulting Services LLC jason.binford@rsbfirm.com

Jason Bradley Binford
                                 on behalf of Petitioning Creditor Xmogrify LLC jason.binford@rsbfirm.com

Kell C. Mercer
                                 on behalf of Creditor Collaborative Vision LLC kell.mercer@mercer-law-pc.com

Michael Conway
                                 on behalf of Petitioning Creditor Goldstein Consulting Services LLC mconway@lpgmlaw.com

Michael Conway
                                 on behalf of Petitioning Creditor Rearc LLC mconway@lpgmlaw.com

Michael Conway
                                 on behalf of Petitioning Creditor Xmogrify LLC mconway@lpgmlaw.com

Robert T DeMarco, III
                                 on behalf of Debtor ArtiusID Inc. robert@demarcomitchell.com,
                                 barbara@demarcomitchell.com;mike@demarcomitchell.com;robert_783@ecf.courtdrive.com

Ron Satija
                                 rsatija@haywardfirm.com
                                 szeigler@fsscommerce.com;RS135@trustesolutions.net;rsatija@ecf.inforuptcy.com;laura@satijatrustee.com

United States Trustee - AU12
                                 ustpregion07.au.ecf@usdoj.gov


TOTAL: 11
